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                         UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division

CHIRAG SHAH,

                Plaintiff,

                v.                                    Case Number 1: 13-cv-1481 (AJT/JFA)

SOUTHWEST AIRLINES, et al

                Defendants.



                                             ORDER


         With respect to the jury trial in this case scheduled to begin on Monday, September 8,
2014, the Court orders as follows:

   I.       On Monday, September 8, 2014, Court will convene at 9:00 a.m.; the trial will begin
            with jury selection at 10:00 a.m. If the case requires more than one day, beginning on
            Tuesday, September 9, through the remainder of the trial, the Court will begin trial at
            9:30 a.m., although counsel should be present by 9:00 a.m. unless otherwise informed
            by the Court.

            Subject to the exigencies of the case: the Court will take a lunch recess from 1:00 to
            2:00 p.m. and recess between 5:30 and 6:00 p.m. daily; and, the Court will not
            conduct the trial on Fridays, although the jury will be permitted to deliberate on
            Fridays.

   II.      Technology in Court

            A. Laptop Computers. Counsel are permitted to use computers in the courtroom
                during trial. Please provide to my law clerk, Rachael Doud
                (rachael doud(g),vaed.uscourts.gov\ at least two days before trial, the names of all
                attorneys and/or firm personnel who intend to bring computers to trial so that
                arrangements may be made with the security officers at the front entrance.

            B. Evidence Presentation System. To use the evidence presentation system, please
                contact the Court Technology Administrator, Lance Bachman at 703-299-2148 or
                lance bachman(g),vaed.uscourts.gov to arrange to be trained on the evidence
                presentation system before trial begins. No evidence should be placed on the
                system that has not been shown to opposing party and admitted.
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  III. Exhibits shall be addressed in the following manner:

         A. The parties shall place all proposed trial exhibits in binders, properly tabbed,
            numbered, and indexed, and the original and two (2) copies shall be delivered to
            the Clerk, with copies in the same form to the opposing party, five business days
             before trial.


         B. The parties are directed to meet and confer with respect to all outstanding
            objections to exhibits and to resolve to the maximum extent possible any such
             objections.

         C. Each party will submit to the Court, five calendar days before trial, a list of the
            other party's exhibits to which an objection remains outstanding and as to each
            such exhibit, a briefjustifying the remaining objection.

         D. In those instances in which an objection is asserted to only a portion of an exhibit,
             the objecting party should submit a version of the exhibitthat it does not object to.
             For example, where only a portion of an exhibit is objected to on the grounds of
             hearsay, relevance or lack of personal knowledge, the objecting party should
             submit a proposed redacted version of the exhibit.

  IV. Voir Dire. The Court will conduct the voir dire. Each party should submit proposed
      questions as set forth in the local rules. Additionally, the parties should provide electronic
      versions of the file in Word format. You may emailthe files to my law clerk or submit
      them to Chambers on a disk. Any additional questions should be submitted directly to
     Chambers.


  V. Jury instructions shall be addressed in the following manner:

         A. The parties shall exchange proposed jury instructions no later than 10 days
             before trial, and thereafter meet and confer on those instructions in order to reach
             an agreement on as many jury instructions as possible.

         B. One week before trial, the parties shalljointly submit to Chambers a set of
             agreed upon instructions. Atthe same time (one week before trial), each party
             shall submit to the Courta set of proposed jury instructions as to which there has
             not been complete agreement (disputed instructions). The instructions submitted
             should be the full verbatim instructions to be read to thejury. Mere references to
             jury instruction numbers inform books are not sufficient. Finally, the parties shall
             submit jointly an index ofall proposed jury instructions designating which
             instructions are agreed upon and which are not.

         C. For all submitted juryinstructions, both agreed upon and disputed, one (hard)
             copy shall be submitted with citations and one without, as well as electronic
             versions ofeach in Word format. You may email the electronic files to my law
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               clerk or submit them to Chambers on a disk. For identification purposes as to
               disputed instructions, the plaintiff should letter his set of instructions and the
               defendants should number his set(s) of instructions.

            D. Five days before trial, any party objecting to a jury instruction proposed by
               another part shall file a brief, no longer than a total of 15 pages, stating their
               objections to any proposed instructions and any argument in support of their own
               alternative instructions.

            E. The parties may submit supplemental proposed instructions during the trial, or
               withdraw those previously proposed, in order to reflect the evidence or the
               Court's rulings. The Court will instruct the jury before closing arguments, and
               will provide copies of the final set ofjury instructions to all parties and to the jury
                for its use during deliberations.

            F. If there are questions about this process, please contact Rachael Doud in
                Chambers.


   II.      Objections During Trial. As a general rule, the Court will not conduct sidebar
            conferences on objections during witness examination. If Counsel believes that
            argument or discussion on anticipated objections is necessary, Counsel should inform
            the Court outside the presence of the jury and, to the extent practicable, such
            objections will be heard before the jury is seated at the beginning of each trial day or
            after the jury is excused at the end of a trial day.

   III.     Verdict Form. After consultation among Counsel, please present a proposed verdict
            form for the Court's consideration at or before the close of the plaintiffs case, as well
            as an electronic copy of the proposed verdict form in Word format. If the parties
            cannot agree, each party should submit its own proposed verdict form in hard copy
            and electronic copy.

   IV.      If any party anticipates significant unresolved issues, other than those that are or will
            be the subject of motions, please alert the Court as soon as possible. This Order is not
            intended to modify the parties' obligations under any previous Order.


                                        Contact Information


Judicial Assistant                      Kristina Brown                 (703) 299-2113
Law Clerk                               Rachael_Doud                   (703) 299-2201
                                        @vaed.uscourts.gov
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       The Clerk is directed to forward copies of this Order to all counsel of record.




                                             Anthonv/i(/t?renga
                                             United States District Judge
Alexandria, Virginia
August 20, 2014
